
705 S.E.2d 390 (2011)
In the Matter of DUKE ENERGY CAROLINAS, LLC's ADVANCE NOTICE.
No. 537P10-1.
Supreme Court of North Carolina.
January 21, 2011.
Kiran H. Mehta, Charlotte, for Duke Energy Carolinas, LLC.
Gisele L. Rankin, Staff Attorney, for Public StaffN.C. Utilities Commission.
Timika Shafeek-Horton, Associate General Counsel, for Duke Energy Carolinas, LLC.
Robert W. Kaylor, Raleigh, for Duke Energy Carolinas, LLC.
Antionette R. Wike, Chief Counsel.
Leonard Green, Assistant Attorney General, for Using &amp; Consuming Public.
Len S. Anthony, Deputy General Counsel, for Progress Energy Carolinas, Inc.
Dwight W. Allen, for Progress Energy Carolinas, Inc.
John D. Runkle, for NC Waste Awareness and Reduction Network, Inc.
James P. West, Raleigh, for City of Fayetteville Public Works Commission.
Thomas J. Bolch, Raleigh, for City of Orangeburg, South Carolina.
James N. Horwood, for City of Orangeburg, South Carolina.
The following order has been entered on the motion filed on the 18th of January 2011 by Petitioner (City of Orangeburg) for Leave to Respond, or, in the Alternative, Rule 37 Opposition, to Appellees' Motion to Dismiss Orangeburg's Notice of Appeal:
"Motion Denied by order of the Court in conference this the 21st of January 2011."
